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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                              NORTHERN DIVISION
                                  AT ASHLAND

CRIMINAL ACTION NO. 10-11-DLB-EBA-1

UNITED STATES OF AMERICA                                                         PLAINTIFF


vs.                           ORDER ADOPTING
                         REPORT AND RECOMMENDATION

KEITH M. DURAN                                                                DEFENDANT

                          **     **   **   **       **   **   **   **

      This matter is before the Court upon the June 5, 2017 Report and Recommendation

(“R&R”) of United States Magistrate Judge Edward B. Atkins, wherein he recommends that

the Court revoke Defendant Keith Duran’s supervised release and impose a term of

imprisonment of six (6) months and one (1) day, with six (6) months of supervised release

to follow. (Doc. # 261). The Initial Revocation Hearing was held on May 24, 2017, at which

time Defendant moved to dismiss the charges against him based on undue delay. (Doc.

# 254). The Final Revocation Hearing was held on May 31, 2017, wherein Defendant

admitted and pled guilty to Violation No’s 2 and 3, and the United States moved to dismiss

Violation No. 1. (Doc. # 258).

      Defendant having waived his right to allocution (Doc. # 100), and the time for filing

objections to the R&R having now expired, the R&R is ripe for the Court’s consideration.

Having reviewed the R&R, and the Court concluding that the R&R is sound in all respects,

including the recommended sentence and the basis for said recommendation, and the

Court being otherwise sufficiently advised,


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       IT IS ORDERED as follows:

       (1) The Report and Recommendation (Doc. # 261) is hereby ADOPTED as the

findings of fact and conclusions of law of the Court;

       (2) Violation No. 1 is dismissed without prejudice;

       (3) Defendant Keith Duran is found to have VIOLATED the terms of his supervised

release as detailed in the February 27, 2017 violation report and February 28, 2017

memorandum;

       (3) Defendant’s supervised release is hereby REVOKED;

       (4) Defendant is sentenced to the CUSTODY of the Attorney General for a period

of six (6) months and one (1) day, with six (6) months supervised release to follow in a

halfway house;

       (5) Defendant’s sentence, if possible, shall be served at a federal correctional facility

and halfway house located near his home in the Southern District of Florida;

       (6) Defendant’s motion to dismiss (Doc. # 255) is denied; and

       (7) A Judgment shall be entered concurrently herewith.

       This 30th day of June, 2017.




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